            Case 1:21-cr-00175-TJK Document 385 Filed 06/09/22 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                v.                            :       Case No. 21-CR-175-1 (TJK)
                                              :
ETHAN NORDEAN                                 :
                                              :
                       Defendant.             :

 UNITED STATES’ MOTION FOR LEAVE TO FILE SUR-REPLY IN CONNECTION WITH
 DEFENDANT NORDEAN’S MOTION FOR AN ORDER DIRECTING THE GOVERNMENT
          TO IDENTIFY BRADY MATERIAL IN PRODUCED DISCOVERY

       The United States hereby respectfully moves for leave to file a sur-reply to defendant Ethan

Nordean’s reply (ECF 379) to his Motion for an Order Directing the Government to Identify Brady

Material in Produced Discovery (ECF 365). In support of this motion, the government states the

following:

       1.       On May 19, 2022, Defendant Nordean filed his motion.

       2.       On June 2, 2022, the government filed its opposition.

       3.       After the government filed its opposition, Defendant Nordean presented the Court

with facts and argument surrounding an “example” of a purported issue with the government’s

discovery productions. Defendant Nordean introduced this issue first at the hearing on June 2 and

then provided further description in his reply on June 7.

       4.       In order to address the allegations raised in the first instance after the government

had filed its opposition, the government seeks leave to file a brief sur-reply.

       5.       “The standard for granting leave to file a surreply is whether the party making the

motion would be unable to contest matters presented to the court for the first time in the opposing

party's reply.” Groobert v. President and Dirs. of Georgetown Coll., 219 F. Supp. 2d. 1, 13 (D.D.C.
             Case 1:21-cr-00175-TJK Document 385 Filed 06/09/22 Page 2 of 3




2002) (internal citation and quotation omitted) (permitting party to file a sur-reply because it

addressed a new matter presented by the defendant’s reply). Whether to allow a sur-reply brief is

within the sound discretion of the district court. Id. (citing American Forest & Paper Ass’n v. U.S.

Envtl. Prot. Agency, 1996 WL 509601, at *3 (D.D.C.1996) (permitting party to file a proposed

sur-reply because it “is helpful to the adjudication of the . . . motions in this case, and is not unduly

prejudicial” to opposing party.”))

        6.       The government asserts that, without leave to file a sur-reply, the government

would lack the opportunity to respond to the new arguments and allegations raised in the

defendant’s reply.

        WHEREFORE, the government requests that the Court grant the government’s motion

and permit the filing of the sur-reply attached to this motion.



                                                        Respectfully submitted,

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                                                    2
Case 1:21-cr-00175-TJK Document 385 Filed 06/09/22 Page 3 of 3




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